Case 3:18-cr-30025-DRH Document 1 Filed 02/21/18 Page 1 of 1 Page |D #1

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IN Tl-IE UNITED STATES DISTRICT COURT

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UNITED STATES OF AMERICA, ) SOUTHEf-`u\l D!s‘rmc“r o.»'-' ri,i_i:\;gig
) EAeT er tours omni
Plaintil`l", )
)
vs. ) Crirninal No. ig"§( 3 223"_' UK'H
)
AMBER J. BRAWLEY, ) Title 18,
) United States Code,
Defendant. ) Section 17'09
INDICTMENT
THE GRAND JURY CHARGES:
COUNT 1

Theft of Mail by Postal Employee
On or about August 4, 2017, in l\/Iadison County, within the Southern District ot`lllinois,
AMBER J. BRAWLEY,
Defendant herein, an employee ot` the United States Postal Service, did Steal and wrongfully
remove articles of mail entrusted to her and which came into her possession intended to be
conveyed by mail, with the intent to convert to her own use, items that had been placed in the
United States mail to be delivered to anothel" in violation of Title 18, United States Code,

Section 1709.

 

 

 

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A S. BOYCE -

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EY R. KILLIAN
Assistant United States Attorney

Recommended Bond: $5,000 unsecured

